                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )      Case No. 4:10-CR-00352-01-BCW
                                            )
KENNTH D. WOLF,                             )
                                            )
                      Defendant.            )

                                           ORDER

       Before the Court is Magistrate Judge Lajuana M. Counts’ Report and Recommendation

(Doc. #82) recommending that Defendant be declared competent to proceed with hearing on

Defendant’s supervised release violation. On January 30, 2020, Magistrate Judge Counts ordered

a psychiatric examination be conducted for Defendant, pursuant to the Government’s motion and

18 U.S.C. 4241(b). (Doc. #74).

       After an independent review of the record, the applicable law, and the parties’ arguments,

the Court adopts the Magistrate’s findings of fact and conclusions of law and finds defendant is

not currently suffering from a mental disease or defect which would prevent him from

understanding the nature and consequences of the proceedings against him or assisting in his

defense. Accordingly, it is hereby

       ORDERED the Magistrate’s Report and Recommendation (Doc. #82) be attached to and

made part of this Order.

       IT IS SO ORDERED.


DATED: August 10, 2020                             /s/ Brian C. Wimes
                                                   JUDGE BRIAN C. WIMES
                                                   UNITED STATES DISTRICT COURT




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